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                         EXHIBIT 9




                                                                          UBSPO035
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From:                             Burt, Jason (DC)
Sent:                             Wednesday, September 8, 2021 9:31 AM
To:                               Catanese, Katie; Martin.Sosland@butlersnow.com
Cc:                               Clubok, Andrew (DC); Tomkowiak, Sarah (DC); George, Katie (CH); McLaughlin, Shannon
                                  (NY)
Subject:                          RE: Motion for Protective Order


Katie,

First, we are disappointed to learn that you have been having ex parte communications with the court. Please include
us on any further communications, even if they regard only scheduling. Second, we will be moving for expedited hearing
on this motion so we suggest that all parties wait to discuss scheduling with the court until after our motion is filed.

Regards,
Jason

From: Catanese, Katie <KCatanese@foley.com>
Sent: Wednesday, September 8, 2021 9:23 AM
To: Burt, Jason (DC) <Jason.Burt@lw.com>; Martin.Sosland@butlersnow.com
Subject: RE: Motion for Protective Order

Jason and Martin,
I have been working with the bankruptcy court to find a date suitable for the hearing on our motion for protective order.
The court has October 27 at 1:30 CT. Does that work for you?
Katie


Katherine R. Catanese
Foley & Lardner, LLP
90 Park Avenue
New York, NY 10016
O: 212-338-3496
C: 517-449-7587

From: Jason.Burt@lw.com <Jason.Burt@lw.com>
Sent: Wednesday, September 1, 2021 10:43 AM
To: Catanese, Katie <KCatanese@foley.com>; Martin.Sosland@butlersnow.com
Subject: RE: Motion for Protective Order

** EXTERNAL EMAIL MESSAGE **
UBS will oppose the motion on the merits and reserves all rights to raise all other appropriate
arguments and seek appropriate relief.

Best,
Jason

Jason R. Burt

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                                                                                                   UBSPO036
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(202) 637-3359


From: Catanese, Katie <KCatanese@foley.com>
Date: Wednesday, Sep 01, 2021, 9:17 AM
To: Burt, Jason (DC) <Jason.Burt@lw.com>, Martin.Sosland@butlersnow.com <Martin.Sosland@butlersnow.com>
Subject: RE: Motion for Protective Order

Jason,
We respectfully disagree with your position that the protective order in place covers what we are seeking in our motion
for protective order. Rather, consistent with our last email exchange with you, we are seeking a reasonable amount of
time so that we can review the 61,000 documents rather than requiring Beecher to produce these documents beginning
tomorrow on a rolling basis.
Katie

Katherine R. Catanese
Foley & Lardner, LLP
90 Park Avenue
New York, NY 10016
O: 212-338-3496
C: 517-449-7587

From: Jason.Burt@lw.com <Jason.Burt@lw.com>
Sent: Tuesday, August 31, 2021 7:50 PM
To: Catanese, Katie <KCatanese@foley.com>; Martin.Sosland@butlersnow.com
Subject: RE: Motion for Protective Order

** EXTERNAL EMAIL MESSAGE **
Thanks. In that case, you need to let us know what relief you are seeking for us to know whether we oppose. If, for
example, it is to quash the subpoena then of course we will oppose on the merits. If it is to obtain a protective order to
protect the confidentiality of documents Beecher produces, then your motion is unnecessary since there already is a
protective order in place in the bankruptcy case that the judge has applied to the adversary proceeding. See
attached. Beecher is free to mark documents confidential under this order. Please let us know what it is you are
actually seeking so we can provide an informed response.

Jason

From: Catanese, Katie <KCatanese@foley.com>
Sent: Tuesday, August 31, 2021 7:36 PM
To: Burt, Jason (DC) <Jason.Burt@lw.com>; Martin.Sosland@butlersnow.com
Subject: RE: Motion for Protective Order

Jason,
We are seeking concurrence under LBR 7007.
Katie


Katherine R. Catanese
Foley & Lardner, LLP
90 Park Avenue
New York, NY 10016
O: 212-338-3496
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C: 517-449-7587

From: Jason.Burt@lw.com <Jason.Burt@lw.com>
Sent: Tuesday, August 31, 2021 5:13 PM
To: Martin.Sosland@butlersnow.com; Catanese, Katie <KCatanese@foley.com>
Subject: RE: Motion for Protective Order

** EXTERNAL EMAIL MESSAGE **
Katie,

Could you please clarify what concurrence you are seeking? Is this a request under LBR 7007-1(a) to confirm whether
the motion is opposed on the merits? Or are you asking whether we consent to Sentinel’s ability to file the
motion? Please let us know as soon as you are able. Thanks.

Jason

From: Martin Sosland <Martin.Sosland@butlersnow.com>
Sent: Tuesday, August 31, 2021 10:56 AM
To: Catanese, Katie <KCatanese@foley.com>
Cc: Burt, Jason (DC) <Jason.Burt@lw.com>
Subject: Re: Motion for Protective Order

Looping in Candice Carson.

Martin A. Sosland
Butler Snow LLP
2911 Turtle Creek Blvd., Suite 1400
Dallas, TX 75219
Office: 469.680.5502
Mobile: 214.415.4264
Martin.Sosland@butlersnow.com

On Aug 31, 2021, at 7:50 AM, Catanese, Katie <KCatanese@foley.com> wrote:


Good morning,
We represent Sentinel Reinsurance, Ltd. We will be filing a motion for protective order in the Texas bankruptcy court
likely tomorrow regarding the subpoena served on Beecher Carlson Insurance Services, LLC in the case captioned UBS v.
Highland Capital Management, adv. pro. no. 21-03020. We are seeking your concurrence in the same. Please let us
know. Thanks.
Katie

Katherine R. Catanese
Foley & Lardner, LLP
90 Park Avenue
New York, NY 10016
O: 212-338-3496
C: 517-449-7587




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